          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:09CR25


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
GREGORY LEE HOLTZCLAW                     )
                                          )


      THIS MATTER is before the Court on Defendant’s appeal of the

Magistrate Judge’s Order of Detention. See Order, filed July 20, 2009.

For the reasons that follow, the Order of Detention is affirmed.



                             I. BACKGROUND

      On April 7, 2009, Defendant and 11 co-defendants were charged

with one count of conspiracy to possess with intent to distribute at least

500 grams of a mixture or substance containing a detectable amount of

methamphetamine, in violation of 21 U.S.C. §§ 841 and 846. Bill of

Indictment, filed April 7, 2009, at 1. After Defendant’s arrest, initial

appearance and subsequent arraignment, he was released on a $25,000




   Case 1:09-cr-00025-MR-WCM     Document 171    Filed 07/21/09    Page 1 of 5
                                     2

unsecured bond and ordered to abide by certain conditions of pretrial

release, including home confinement with electronic monitoring. See

Order Setting Conditions of Pretrial Release, filed June 5, 2009. On

June 30, 2009, Defendant entered into a plea agreement with the

Government wherein he agreed to plead guilty to the count charged in the

indictment. On July 2, 2009, Defendant appeared with counsel and

formally entered his guilty plea. See Rule 11 Inquiry and Order of

Acceptance of Plea, filed July 2, 2009. A detention hearing followed.

After finding that the Government did not recommend that a sentence of no

imprisonment be imposed on Defendant, the Magistrate Judge concluded

that the mandatory provisions of 18 U.S.C. § 3143 applied in this case and

entered an oral order revoking Defendant’s conditions of pretrial release

and ordered the Defendant detained without bond pending sentencing.

This appeal follows.



                              II. DISCUSSION

     The Mandatory Detention Act of 1990 requires that defendants found

guilty of certain categories of offenses involving controlled substances be

detained pending sentencing. Defendant does not dispute that the offense



   Case 1:09-cr-00025-MR-WCM    Document 171    Filed 07/21/09   Page 2 of 5
                                        3

to which he pled guilty gives rise to mandatory detention. However, there

are three exceptions to this mandatory detention, only one of the

exceptions is relevant here. See 18 U.S.C. § 3143(a)(2); United States v.

Goforth, 546 F.3d 712, 713-14 (4th Cir. 2008). Although Defendant does

not cite the relevant statute, the Court will examine Defendant’s appeal to

determine whether release is appropriate under 18 U.S.C. § 3145(c). This

section provides that a “person subject to detention pursuant to section

3143(a)(2) or (b)(2), and who meets the conditions of release set forth in

section 3143(a)(1) or (b)(1), may be ordered released, under appropriate

conditions, by the judicial officer, if it is clearly shown that there are

exceptional reasons why such person’s detention would not be

appropriate.” 18 U.S.C. § 3145(c).

      Defendant states he has been diagnosed with AIDS and is currently

receiving medical treatment for this disease. Notice of Appeal, filed July

10, 2009, at 1. Defendant asks this Court to review his medical records

previously submitted to the Probation Office in connection with this appeal.

Defendant also contends that he is not a flight risk or a danger to the

community and asks the Court, presumably, to find that those reasons,

together with his medical condition, support release pending sentencing.



   Case 1:09-cr-00025-MR-WCM       Document 171     Filed 07/21/09   Page 3 of 5
                                      4

Defendant has made no showing that he will no longer have access to

adequate medical care while detained pending sentencing thus his medical

issues will not serve as an exceptional reason. Nor will a finding that

Defendant does not pose a risk of flight suffice. The Court finds that the

charge to which Defendant pled guilty represents conduct that undoubtedly

poses a serious risk of danger to the community. In short, the Court finds

Defendant’s arguments are unavailing and do not support a finding of

exceptional reasons as required by § 3145(c).

     Courts considering the meaning of “exceptional reasons” have

generally concluded that a defendant must present circumstances that are

“clearly out of the ordinary, uncommon or rare.” United States v. Larue,

478 F.3d 924, 926 (8th Cir. 2007) (rejecting defendant’s argument that

complying with pretrial release terms, a lack of criminal history, child

support obligations, and continued employment represent

exceptional reasons); see also United States v. Lea, 360 F.3d 401, 403

(2d Cir. 2004) (“Exceptional circumstances exist where there is ‘a

unique combination of circumstances giving rise to situations that

are out of the ordinary.’” (quoting United States v. DiSomma, 951 F.2d

494, 497 (2d Cir. 1991)).



   Case 1:09-cr-00025-MR-WCM     Document 171   Filed 07/21/09   Page 4 of 5
                                    5

     After considering Defendant’s arguments, the FTR recording of the

Rule 11 and detention hearing, Defendant’s medical records, and the

relevant case law, the Court concludes Defendant has offered insufficient

evidence to support his release under § 3145(c).



                               III. ORDER

     IT IS, THEREFORE, ORDERED that Defendant’s appeal of the order

of detention is DENIED, and the Magistrate Judge’s order of detention is

AFFIRMED.

                                     Signed: July 20, 2009




   Case 1:09-cr-00025-MR-WCM   Document 171      Filed 07/21/09   Page 5 of 5
